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EXHIBIT G
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In re: W.R. GRACE & CO.-CONN,, Case No. 01-01140

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

UNITED STATES TREASURY
7850 SW 6TH COURT

PLANTATION FL 33324

DATE CLAIM WAS INCURRED AND CONTINGENT,
CREDITOR'S NAME AND MAILING CONSIDERATION FOR CLAIM, IF UNLIQUIDATED AMOUNT OF CLAIM
ADDRESS INCLUDING ZIP CODE CLAIM IS SUBJECT TO SETOFF, SO DISPUTED
STATE -
1619391 - 10071297 ENVIRONMENTAL CLAIM Contingent, Unknown
INTER-STATE OIL CO Disputed,
Unliquidated
1100875 - 10319452 TRADE PAYABLE Disputed $513.60
INTERCON CARTAGE PRE-PETITION INVOICE FAID UNDER FIRST
P.O. BOX 24 DAY MOTIONS
BEDFORD PARK IL 60499-0024
1619853 - 10071759 ENVIRONMENTAL CLAIM contingent, Unknown
INTERCONTINENTAL BULKTANK CORP (OVE Disputed,
Unliquidated
1621169 -- 10073075 ENVIRONMENTAL CLAIM Contingent, Unknown
INTERFAITH Disputed,
CAROLYN SMITH PRAVLICK DANIELL C F Unliquidated
1121 TWELFTH ST NW
WASHINGTON pe 620005
1621170 - 10073076 ENVIRONMENTAL CLAIM contingent, Unknown
INTERFAITH _ Disputed,
EDWARD LLOYD Unliquidated
15 WASHINGTON ST
ROOM 334
NEWARK NJ 07102
1621171 ~- 10073077 ENVIRONMENTAL CLAIM Contingent, Unknown
INTERFAITH COMMUNITY ORGANIZATION Disputed,
83 WAYNE ST Unliquidated
JERSEY CITY NI 07302
1621172 - 10073078 - ENVIRONMENTAL CLAIM Contingent, Unknown
INTERFAITH COMMUNITY ORGANIZATION Disputed,
CAROLYN SMITH PRAVLICK DANIELLE C Unliquidated
.1121 TWELFTH ST NW
. WASHINGTON D 20005
1621124  - 10073030 ENVIRONMENTAL CLAIM Contingent, - Unknown
INTERGRAPH CORP Disputed,
: Unliquidated
1619016 - 10070922 ENVIRONMENTAL CLAIM Contingent, Unknown
INTERMOUNTAIN INSULATION CO . Disputed,
333 W FIRST ST Unliquidated
SALT LAKE CITY UT
1069549 ~- 10069794 ENVIRONMENTAL CLAIM Contingent, Unknown
INTERNAL MEDICINE & CARDIOLOGY Disputed,
PO BOX 1000 Unliquidated
MEMPHIS TN 38148-0423
1683633 - 10068199 TAXES, INTEREST AND PENALTIES Contingent, Unknown
INTERNAL REVENUE SERVICE 1993 - 1996 AUDIT : Disputed,
Attn JAMES FIERLE : . Unliquidated
UNITED STATES TREASURY :
7850 SW 6TH COURT
PLANTATION FL 33324
1683634 - 10068200 TAXES, INTEREST AND PENALTIES ‘Contingent, Unknown
INTERNAL REVENUE SERVICE 1997 - 2000 OPEN TAX YEARS ~ Disputed,
Attn JAMES FIERLE Unliquidated

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